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FILED BY .. -._..._ D.C.
IN THE UNITED STATES DISTRICT COURT '

FoR THE wEsTERN DISTRICT oF TENNESSEE .
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NO. 04-20289-BV

UNITED STATES OF AMERICA,

vs.

BARRY FERGUSON,

Defendant.

 

ORDER GRANTING MOTION FOR APPOINTMENT
OF SUBSTITUTE COUNSEL

 

Before the court is the May 23, 2005 pro se motion of
defendant Barry'Ferguson seeking appointment of substitute counsel.
As grounds for the motion, the defendant states that differences
and difficulties in communication have arisen between him and his
court appointed counsel.

A hearing was held on July 1, 2005, and it was determined that
the motion should be granted.

IT IS THEREFORE ORDERED that the appointment of Pat Brown,
Assistant Federal Defender, is terminated and Mr. Brown is relieved
of any further duty: of representationd New counsel will be

appointed for the defendant from the CJA list of attorneys.

,A/LM“@ Z’. adv/fr

DIANE K. VESCOVO
UNITED STAT S MAGISTRATE JUDGE
Date = /', p€&O §

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This notice confirms a copy of the document docketed as number 49 in
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July ], 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

